    Case 17-31519-SLM          Doc 32    Filed 05/10/18 Entered 05/10/18 13:45:34             Desc Main
                                         Document Page 1 of 3
Marie-Ann Greenberg, MAG-1284
Marie-Ann Greenberg, Standing Trustee
30 TWO BRIDGES ROAD
SUITE 330
FAIRFIELD, NJ 07004-1550
973-227-2840
Chapter 13 Standing Trustee
                                                          UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF NEW JERSEY
IN RE:                                                    NEWARK VICINAGE
JACOBY ADESHEI CARTER
                                                          Chapter 13 Case No.: 17-31519 SLM


                                                          HEARING DATE: 6/27/2018 at 9:00 am

ANDY WINCHELL
100 CONNELL DRIVE
SUITE 2300
BERKELEY HEIGHTS, NJ 07922

JACOBY ADESHEI CARTER
837 BERCKMAN STREET
PLAINFIELD, NJ 07062

                   TRUSTEE'S NOTICE OF MOTION TO DISMISS PETITION
Marie-Ann Greenberg, Chapter 13 Standing Trustee, has filed papers with the Court for an Order
Dismissing this case.

Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one, in this bankruptcy case. (If you do not have an attorney, you may wish
to consult one.)

If you do not want the Court to grant the Order dismissing this case, or if you want the court to consider
your views on the motion, then on or before seven (7) days before the scheduled hearing date of
06/27/2018, you or your attorney must:

File a WRITTEN RESPONSE in opposition to this motion explaining your position and send it to:

               US Bankruptcy Court
               Office of the Clerk
               50 Walnut Street, Third Floor A
               Newark, NJ 07102
                 and
               Marie-Ann Greenberg
               Chapter 13 Standing Trustee
               30 Two Bridges Road
               Suite 330
               Fairfield, NJ 07004-1550
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If you mail your response to the court for filing, you must mail it early enough so the court will receive
it on or before the date stated above.

The hearing is scheduled to be held on 06/27/2018 at 9:00 am in the courtroom of Honorable Judge
STACEY L. MEISEL, at US Bankruptcy Court, 50 Walnut Street, Third Floor A, Newark, NJ 07102.

If you or your attorney do not take these steps, the court may decide that you do not oppose the relief
sought in the motion and may enter the order granting relief.


                                                     Marie-Ann Greenberg
                                                     Chapter 13 Standing Trustee



                                                     By:   /S/Marie-Ann Greenberg
                                                           Marie-Ann Greenberg

Dated:   May 10, 2018
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Marie-Ann Greenberg, MAG-1284
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Chapter 13 Standing Trustee

                                                       UNITED STATES BANKRUPTCY COURT
IN RE:                                                 DISTRICT OF NEW JERSEY
                                                       NEWARK VICINAGE
JACOBY ADESHEI CARTER
                                                       Chapter 13 Case No.: 17-31519 SLM

                                                       CERTIFICATION IN SUPPORT OF MOTION

I, Jackie Michaels, being of full age certify that:
  I am a paralegal for Marie-Ann Greenberg, Standing Trustee, and am familiar with the facts of this
  case.
  Debtor(s) filed the instant Chapter 13 Petition on 10/24/2017.
  Debtor(s) failed to provide the Chapter 13 Standing Trustee with a copy of 2017 tax return as required
  at Confirmation so that refunds can be contributed to the plan for the benefit of creditors.
For the reasons set forth above, the Trustee recommends dismissal of this case.

I hereby certify that the foregoing statements made by me are true to the best of my knowledge,
information and belief. I am aware that if any of the foregoing statements made by me are willingly
false, I am subject to punishment.


                                                      By:    /S/ Jackie Michaels
Dated: May 10, 2018
                                                            Jackie Michaels
